 

 

Case 2:17-cv-02797-NJB-DMD Document 129-22 Filed 02/10/20 Page 1 of 2

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Subject Fw: Rodney Grant, Case 417-717 H"

Judge Buras

This offender's case is being held due to him being a Parole case. When we initially received his
Paperwork Here was nothing to Indicate that this was en older case, therefore he was considered fo hava
@ New Felony pending a revocation. We do not receive Bit of Information from the Orlaans Sheriff's Dept
on our offenders, we only get the BIN several months later fram the Clerk of Court, so our staff did not
realize this was an older case thet would probably not revoke his supervision.

Is there any possible way thal someone In your offica could scan and amall maa copy of his Bill of
Information fordocket 417717? if we can get that if would help tremendously.

Thanks

Angela Smith, Corrections ARDC Manager

Headquarters - Pre Class

‘Out of State / Federal

asmith@corections.state.la.us

Phone 225-342-2331

Fax 225-342:3861

Fax 225-342-3759

—— Forwarded by ANGELA SMITHICORRECTIONS on 07/25/2016 11:37 AM —

Yvette
CrewlorCORRECTIONS To ANGELA SMITHICORRECTIONS@CORAECTIONS
07/25/2016 11:40AM cc
Subject Fw: Rodney Grant. Case 417-717 H*
Yveite Crawford

Corrections ARDC Supervisor / Preclass

——— Forwarded by Yvette Crawford/CORRECTIONS on 07/25/2016 11:36 AM —-
CBurss@crmingicourt.org
O7f2V2016 10:31AM To kanedraburton@corections.state.la.us
c yorewiord corrections. state la_us, azagon@opdla.org
Subject Rodney Grant. Gage 417-717 H"

Good morning -

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Ms, Irma Ray provided contact information for you and I hope you can asaiat in
resolving this issue regarding classification af time for the above referenced
inmate.

I originally sentenced the defendant pndune 30 2016 toa 1 year DOC with CTS
from 2008 as the defendant had already served a sentence in DOC and my 2000
case did not pop up until he was ready to be discharged.

The court was informed that the defendant was still incarcerated and so I
amended his sentence in July 13 2016 to CREDIT FOR TIHE SERVED 30 that he
could be immediately released.

This morning 1 was informed by Captain Brooks in Madisonville that their
records show Grant's discharge date on NOV 24 2023.

Please advise a& to what might be the issue with this cage as the ciaar
intention of all parties when the defendant pled guilty was to have this
credit for time served sentence result in a release.

Thank you and [ await your reply; Camille Buras

ard

Base:
1G_4451.JPG

Sent from my iPhone

 
